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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

Case No. CV 19-1280 MWF (Ex)                                        Date: October 4, 2021
Title       Juan Garibay v. Nasser Allahverdi, et al.


Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge


                  Rita Sanchez                                         Not Reported
                  Deputy Clerk                                   Court Reporter / Recorder

        Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                 Not Present                                        Not Present

Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

      Plaintiff is ordered to show cause, in writing, why this action should not be
dismissed for lack of prosecution. There has been no activity in this case for over
one year.

    In response to this Order to Show Cause, Plaintiff may file, no later than
OCTOBER 18, 2021, any of the following:

               Notice of Settlement;
               Stipulation for Dismissal and Proposed Order;
               Updated Joint Rule 26(f) Report; or
               Joint Status Report.

        The matter will then be reviewed by the Court for further action.

        IT IS SO ORDERED.

                                                                         Initials of Preparer: RS/sjm




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